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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

LESLIE DUKE,
Plaintiff,

v. Civil Action No. 3:18-cv-00290-JAG

XYLEM TREE EXPERTS, INC., et al.,
Defendants.

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Leslie Duke claims that his employer fired him because he refused to drive a truck
without the necessary highway permits. The Court previously directed Duke to file a second
amended complaint (“SAC”) to allege sufficient facts to establish subject matter jurisdiction,
specifically whether he has exhausted administrative remedies under the Surface Transportation
Assistance Act (“STAA”). In the SAC, Duke reiterates his grievances under the STAA, but does
not indicate that he complied with the administrative exhaustion requirements Duke also asserts
claims under Title VII of the Civil Rights Act of 1964, various criminal statutes, and 42 U.S.C.
§1983. The defendants, Xylem Tree Experts, Inc. (“Xylem”),l William Hoover, Randolph
Hoover, and Benjamin Hoover,2 have moved to dismiss the SAC under Federal Rules of Civil
Procedure 12(b)(l) and 12(b)(6). Because the Court lacks subject matter jurisdiction over
Duke’s STAA and 'l`itle VII claims and his remaining allegations fail to state a claim for relief,

the Court Will grant the motion to dismiss

 

' Duke named the following parties as defendants: “Xylem Tree Inc And Experts, William
Hoover, Randolph Hoover, Benjamin Hoover, and Xylem Tree, Inc.” (SAC, at l.) The correct
name of the corporate defendant is Xylem Tree Experts, Inc. Duke worked for Xylem, Inc., a
related entity.

2 The Court understands that William, Randolph, and Benjamin Hoover all work for Xylem in
some capacity.

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I. BACKGROUND

Xylem hired Duke in 2017 to drive tractor trailers. On April 30, 2018, Duke’s
supervisor, William Hoover, called Duke and asked him to drive his truck to Midway, North
Carolina, where a Xylem crew Would load a piece of equipment for Duke to drive to Xylem’s
shop in Wakefield, Virginia. The load was a “wide 10a ” that Duke could not transport during
the day without a permit. That evening, Hoover called Duke and told him to bring the wide load
to the Virginia shop even though he had not yet received the required permits. Duke refused to
drive the wide load Without the proper permit, and Hoover then fired Duke.

In the SAC, Duke asserts the following claims: (l) wrongful termination in violation of
the STAA; (2) sexual harassment in violation of Title VII; (3) various criminal allegations; and
(4) violation of his constitutional rights under 42 U.S.C. § 1983. The defendants have moved to
dismiss Duke’s complaint pursuant to Federal Rules of Civil Procedure l2(b)(l) and 12(b)(6).3

II. STANDARD
A. Subject Matter Jurisdiction

Federal courts have limited subject matter jurisdiction and “possess only the power
authorized by Constitution and statute, which is not to be expanded by judicial decree.”
Kokkenen v. Guardian Life lns. C0. of Am., 511 U.S. 375, 377 (1994) (citations omitted). Duke
bears the burden of establishing subject matter jurisdiction. Adams v. Bain, 697 F.2d 1213, 1219

(4th Cir. 1982). The complaint must allege the grounds for jurisdiction Bowman v. White, 388

 

3 The defendants have moved to dismiss on four grounds: (l) Duke’s employment contract
contained an arbitration agreement; (2) failure to state a claim for relief; (3) failure to establish
federal jurisdiction; and (4) a non-attorney ghost writer drafted Duke’s pleadings. Because the
Court will dismiss the SAC for lack of subject matter jurisdiction and for failure to state a claim,
the Court will not address the defendants’ arguments as to arbitration or the ghost writer.

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F.2d 756, 760 (4th Cir. 1968). If the court determines that it lacks subject matter jurisdiction, it
must dismiss the action. Fed. R. Civ. P. 12(h)(3).
B. F ailure to State a Claim

A Rule 12(b)(6) motion gauges the sufficiency of a complaint without resolving any
factual discrepancies or testing the merits of the claims. Republican Party of N. C. v. Martin, 980
F.2d 943, 952 (4th Cir. 1992). ln considering the motion, a court must accept all allegations in
the complaint as true and must draw all reasonable inferences in favor of the plaintiff Nemet
Chevrolet, Ltd. v. Consumerajfairs.com, Inc., 591 F.3d 250, 253 (4th Cir. 2009) (citing Edwards
v. City of Gola'sboro, 178 F.3d 231, 244 (4th Cir. 1999)). The principle that a court must accept
all allegations as true, however, does not apply to legal conclusions Ashcroft v. lqbal, 556 U.S.
662, 678 (2009). 'l`o survive a Rule 12(b)(6) motion to dismiss, a complaint must state facts that,
when accepted as true, state a claim to relief that is plausible on its face. Id. “A claim has facial
plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable
inference that the defendant is liable for the misconduct alleged.” Id. (citing Bell Atl. Corp. v.
Twombly, 550 U.S. 544, 556 (2007)).

The Federal Rules of Civil Procedure require that a complaint contain “a short and plain
statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).
When the plaintiff appears pro se, although courts should liberally construe the complaint,
Gordon v. Leeke, 574 F.2d 1147, 1151 (4th Cir. 1978), “[p]rinciples requiring generous
construction of pro se complaints are not . . . without limits.” Beaudett v. City of Hampton, 775
F.2d 1274, 1278 (4th Cir. 1985). Courts need not attempt “to discern the unexpressed intent of

the plaintiff.” Laber v. Harvey, 438 F.3d 404, 413 n.3 (4th Cir. 2006).

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III. DISCUSSION
A. Surface Transportation AssistanceAct

The STAA prohibits employers from firing an employee “because . . . the employee . . .
refuses to operate a vehicle because the operation violates a regulation, standard, or order of the
United States related to commercial motor vehicle safety.” 49 U.S.C. § 31105(a)(1)(B)(i). The
STAA also prohibits employers from firing an employee for refusing to drive a vehicle when the
employee “has a reasonable apprehension of serious injury to the employee or the public because
of the vehicle’s hazardous safety or security condition.” ld. § 31105(a)(1)(B)(ii).

An employee alleging Wrongful termination in violation of the STAA must first file a
complaint “with the Secretary of Labor not later than 180 days after the alleged violation
occurred.” Id. § 31105(b). The STAA permits aggrieved employees to file a lawsuit in a district
court only when “the Secretary fails to issue a final decision within 210 days after the filing of
the complaint.”4 Id. § 31105(c). In other words, “Congress granted district courts subject-matter
jurisdiction in 49 U.S.C. § 31105 only in cases in which the Secretary of Labor fails to issue a
final decision within 210 days after filing the complaint.” Rose v. Anderson Hay & Grain Co.,
No. cv-lO-OSS-RMP, 2010 WL 3211948, at *l (E.D. Wash. Aug. 6, 2010); see also Bailijf v.
Davenport Transp., Inc., No. 3:13-cv-308-GCM, 2013 WL 6229150, at *3 (W.D.N.C. Dec. 2,
2013).

Here, Duke has not alleged facts to establish subject matter jurisdiction under the STAA.

In a supplemental filing,5 Duke submitted a letter from the Federal Motor Carrier Safety

 

4 The STAA also has a procedure for plaintiffs to seek review of the Secretary’s decision in the
federal courts of appeals. See 49 U.S.C. § 31105(d).

5 In evaluating a Rule 12(b)(6) motion, courts typically focus only on the complaint, documents
attached to the complaint, and documents explicitly incorporated into the complaint by reference.
Goines v. Valley Cm!y. Servs. Bd., 822 F.3d 159, 166 (4th Cir. 2016). In appropriate cases,

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Administration (“FMCSA”), which indicates that Duke filed a complaint against Xylem with the
FMCSA. (Dk. No. 31.) According to the letter, the FMCSA investigated Duke’s allegations,
found that Xylem had violated federal regulations, and planned to initiate an enforcement action
against Xylem. (Dk. No. 31, at 2.) While Duke has shown that he complained to the FMCSA,
he has not established that the Secretary of Labor “fail[ed] to issue a final decision within 210
days after the filing of the complaint.” 49 U.S.C. § 31105(c). Accordingly, the Court lacks
subject matter jurisdiction to hear his claim under the STAA. See Baili/j', 2013 WL 6229150, at
*3.
B. Title VII

“Before filing suit under Title VII, a plaintiff must exhaust [his] administrative remedies
by bringing a charge with the EEOC.” Smith v. First Union Nal ’l Bank, 202 F.3d 234, 247 (4th
Cir. 2000). “The scope of the plaintist right to file a federal lawsuit is determined by the
charge’s contents.” Jones v. Calvert Grp., Ltd., 551 F.3d 297, 300 (4th Cir. 2009). Accordingly,
“a claim in formal litigation will generally be barred if the EEOC charge alleges discrimination
on one basis . . . and the formal litigation claim alleges discrimination on a separate basis.” Id.
Once the EEOC completes the administrative process, it may then issue a right to sue letter,
which enables the plaintiff to file a lawsuit. See 29 C.F.R. § 1601 .28(a).

ln this case, Duke has not alleged that the EEOC issued a right to sue letter as to any
employment discrimination claim, which deprives the Court of subject matter jurisdiction See
Baiden~Adams v. Forsythe Transp., Inc., 969 F. Supp. 2d 422, 428 (E.D. Va. 2013). In his

opposition brief, Duke attached a letter from the EEOC dated August 30, 2018, indicating that he

 

however, courts may also (1) take judicial notice of public records, such as state court records,
and (2) consider documents submitted by the movant if the documents are integral to the
complaint and indisputably authentic. Id.; Witthohn v. Fed. Ins. Co., 164 F. App’x 395, 396 (4th
Cir. 2006).

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filed a charge of discrimination with the EEOC under the Americans with Disabilities Act
(“ADA”), but not Title VII. (See Dk. No. 28-1.) Even if Duke could produce a right to sue letter
from the EEOC, the Court would lack subject matter jurisdiction over his sexual harassment
claim because he did not assert it in his EEOC charge. See Baiden-Adams, 969 F. Supp. 2d at
428 (“If the plaintiffs . . . claims ‘exceed the scope of the EEOC charge and any charges that
would naturally have arisen from an investigation thereof, they are procedurally barred.”’
(quoting Balas v. Huntinglon Ingalls Indus., Inc., 711 F.3d 401, 407-08 (4th Cir. 2013))).
Because the Court lacks subject matter jurisdiction over Duke’s Title VII claim, the Court must
dismiss it.
C. Additional Claims

Duke alleges that William Hoover violated his constitutional rights by filing for and
receiving a protective order that led to Duke’s arrest. Duke says that Hoover’s actions violated
18 U.S.C. §§ 241 and 242_two criminal statutes-and 42 U.S.C. § 1983.

“Unless there is a clear Congressional intent to provide a civil remedy, a plaintiff cannot
recover civil damages for an alleged violation of a criminal statute.” Tribble v. Reedy, No. 89-
6781, 1989 WL 126783, at *1 (4th Cir. Oct. 20, 1989) (per curiam); see also Brown v. Clements,
3:15-cv-104-MHL, 2015 WL 5677296, at *9 (E.D. Va. Sept. 23, 2015) (“A ‘bare criminal
statute’ provides for no express civil remedy.”). Because 18 U.S.C §§ 241-42 do not provide for

a civil remedy, the Court will dismiss Duke’s claims under §§ 241-42.6

 

6 Duke also asserts the following criminal claims against the defendants: (1) theft of his logging
trailer; (2) Witness intimidation; and (3) forgery of an equipment permit. Because Duke may not
bring a private cause of action under criminal statutes that do not provide for a civil remedy, the
Court Will dismiss Duke’s criminal claims for failure to state a claim. See Tribble, 1989 WL
126783, at *l.

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Adclitionally, 42 U.S.C. § 1983 provides a private cause of action against anyone “who,
under color of any statute, ordinance, regulation, custom, or usage of any
State . . . subjects . . . [the] citizen . . . to deprivation of any rights, privileges or immunities under
the Constitution and laws.” 42 U.S.C. § 1983. To state a claim for relief under § 1983_. a
plaintiff must allege that the defendant acted under the color of state law and deprived the
plaintiff of a right secured by the Constitution. Brown v. Transurbon USA Inc., 144 F. Supp. 3d
809, 833-34 (E.D. Va. 2015). Courts deem a private actor a state actor “when the state has
delegated a traditionally and exclusively public function to a private actor.” Andrei-v.s' v. Fed.
Home Lorm Brmk of`At/cm!c.', 998 F.2d 214_ 217 (4th Cir. 1993). Because Duke has not alleged
that the defendants acted under color of state law, the Court will dismiss Duke’s claim under
§ 1983 for failure to State a claim.

IV. CONCLUSION

Because the Court lacks subject matter jurisdiction over Duke’s STAA and Title VII
claims and Duke has otherwise failed to state plausible claims for relief, the Court will dismiss
this case with prejudice

The Court will enter an appropriate Order.

Let the Clerl< send a copy of this Opinion to all counsel of record and to the pro se

 

 

plaintiff

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Date: 27 Dec. 2018 Jolm A_ Gibney,.lr. g
Richmond, VA United States Distri d e

 

 

 

